
PER CURIAM.
Having considered the appellant’s responses to this Court’s orders, dated January 27, 2003, and February 11, 2003, we dismiss this appeal for lack of jurisdiction. The notice of appeal filed on December 19, 2002, appealing the Order on Defendants’, W. Paul Sawyer, M.D. and Southeastern Urological Center’s Motion to Dismiss, entered on November 13, 2002, is untimely. Because the notice of appeal was filed more than 30 days after rendition of the order, this Court is without appellate jurisdiction. See Fla. R. App.9.110(b).
DISMISSED.
ERVIN, WOLF and VAN NORTWICK, JJ., concur.
